Case 21-03020-sgj Doc 109-6 Filed 09/10/21   Entered 09/10/21 20:50:57   Page 1 of 3




                         EXHIBIT 5




                                                                         UBSPO023
         Case 21-03020-sgj Doc 109-6 Filed 09/10/21               Entered 09/10/21 20:50:57           Page 2 of 3




From:                              Burt, Jason (DC)
Sent:                              Friday, August 20, 2021 6:38 PM
To:                                Catanese, Katie; Nann, Alissa M.
Cc:                                Natascha.Steiner-Smith@collascrill.com; Stephen.Leontsinis@collascrill.com;
                                   TJCahill@duanemorris.com; Clubok, Andrew (DC); Tomkowiak, Sarah (DC); McMahon,
                                   Sean (NY); McCall, Danielle (DC); McLaughlin, Shannon (NY)
Subject:                           RE: Sentinel


Katie,

Thank you for your latest note. We continue to be disappointed that Sentinel refuses to work with us in good faith – we
had thought last Thursday that the parties were close to agreement on a rolling production of documents and to
Sentinel responding to the information subpoena. Indeed, you yourself expressed optimism about the idea of a rolling
production and stated that our list of priority documents would be a helpful way to get the production rolling. Now,
instead, you refuse to do either a rolling production or to prioritize any review. Moreover, you now claim that Sentinel
has unilateral authority to dictate to Beecher how Beecher may respond to the document subpoena served on
Beecher. As you well know, Sentinel has no legal right to dictate to Beecher Carlson what it can and cannot produce
under the subpoena lawfully served on it. Nothing in the confidentiality agreement (or the law) gives Sentinel such
power. And despite your assertions, we have endeavored in all of our correspondence to be professional while asserting
our client’s position. Nothing we have said or done has been hostile, or has provided any basis for Sentinel to oppose
the subpoenas served on it or Beecher. To the contrary we have worked with Sentinel for over two months to come to a
reasonable solution, even when the law required Sentinel to comply fully within 7 days of receipt of the information
subpoena. Regrettably, these efforts have come to naught, and we understand that the parties are now at an impasse
and will proceed accordingly.

Best,
Jason

From: Catanese, Katie <KCatanese@foley.com>
Sent: Friday, August 20, 2021 4:43 PM
To: Burt, Jason (DC) <Jason.Burt@lw.com>; Nann, Alissa M. <ANann@foley.com>
Cc: Natascha.Steiner-Smith@collascrill.com; Stephen.Leontsinis@collascrill.com; TJCahill@duanemorris.com; Clubok,
Andrew (DC) <Andrew.Clubok@lw.com>; Tomkowiak, Sarah (DC) <Sarah.Tomkowiak@lw.com>; McMahon, Sean (NY)
<Sean.McMahon@lw.com>; McCall, Danielle (DC) <Danielle.McCall@lw.com>; McLaughlin, Shannon (NY)
<Shannon.McLaughlin@lw.com>
Subject: RE: Sentinel

Jason,

        We are currently reviewing 61,000 documents--the number of pages is much greater--and have an appropriate
number of reviewers reviewing the documents in our possession. We believe it will take 6-8 weeks to review the entire
subset. We do not consent to provide you these documents on a rolling basis, and we do not consent to prioritize the list
of documents you tardily sent to us yesterday. We will review the entire subset of documents and produce to Beecher
the documents they are legally obligated to produce only after we have fully reviewed them.

         The tenor of your email is threatening and unnecessarily hostile. As was indicated to you on our call last week, it
is directly contrary to your statements that you want to work cooperatively and is offensive. As we have reiterated on
numerous occasions, this is not an issue of whether to cooperate with UBS or side with Sentinel’s owners. The
                                                             1
                                                                                                     UBSPO024
        Case 21-03020-sgj Doc 109-6 Filed 09/10/21               Entered 09/10/21 20:50:57           Page 3 of 3

independent directors have duties to Sentinel and must ensure that their legal fiduciary obligations to Sentinel are met.
Requiring Sentinel to turn over documents to UBS on a rolling basis is not an efficient use of Sentinel’s limited time or
resources. Although we still maintain that there is a consensual resolution that can be reached here, Sentinel's directors
are unwilling to compromise their fiduciary duties to appease your hostility and unrealistic timeline, especially given the
severe deficiencies in service and the lack of jurisdiction the New York Supreme Court has over Sentinel, as further
described in our last letter. The 6-8 weeks it will take for Sentinel to complete its review of documents will in no way
prejudice your client.

        Sentinel does not waive and hereby reserves any and all of its objections to the subpoenas that were improperly
served on Sentinel, as well as the jurisdiction of the New York Supreme Court over Sentinel for any purpose
whatsoever. In addition, Sentinel has not conceded coverage and reserves all rights to deny coverage with respect to
any insurance policies issued to the Highland entities.

        Please govern yourselves accordingly.
Katie


Katherine R. Catanese
Foley & Lardner, LLP
90 Park Avenue
New York, NY 10016
O: 212-338-3496
C: 517-449-7587




From: Catanese, Katie <KCatanese@foley.com>
Sent: Thursday, August 19, 2021 9:21 AM
To: Burt, Jason (DC) <Jason.Burt@lw.com>; Nann, Alissa M. <ANann@foley.com>
                                                             2
                                                                                                    UBSPO025
